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                                             THE CITY OF NEW YORK                                            Thais R. Ridgeway
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                                                 NEW YORK, NY 10007                                              (not for service)




                                                                                     October 23, 2020

        BY ECF

        Honorable Alison J. Nathan
        United States District Court                                10/27/2020
        Southern District of New York
        40 Foley Square
        New York, New York 10007-1312

                              Re: M.C. et al., v. New York City Department of Education,
                                  20-CV-05558 (AJN)
        Dear Judge Nathan:

                       I am an Assistant Corporation Counsel in the Office of the Corporation Counsel
        assigned to represent the New York Cityy Department
                                                      p         of Education ((hereinafter “DOE”),), in the
        above-referenced matter. I write in response
                                                   p     to Your Honor’s October 23,, 2020 Order and
        submit this letter,, in consultation with Jennifer Ratcliffe,, Esq.,
                                                                         q , to provide
                                                                                p       the Court a status
        update and request Your Honor adjourn the Initial Conference scheduled October 30, 2020.

                        The parties have resolved the substantive claims regarding implementation and
        the only issue remaining is Plaintiffs’ attorney’s fees claim. However, the parties do not
        anticipate reaching a resolution on the fees claim before October 30,, 2020,, the date of the initial
        conference in this matter. The pparties believe a 60-day adjournment will allow time to negotiate
        and attempt to resolve the remaining claim. Jennifer Ratcliff, Esq., counsel for Plaintiffs,
        consents to the proposed extension of time and joins in the request for an adjournment of the
        initial conference.
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                                                    The conference is adjourned to
                                                    January 8, 2021 at 3:45 PM. The
                                                    parties are hereby order to submit
                                                    a Joint Letter and proposed Case
                                                    Management Plan by January 1,
                                                    2021.

                                                                                      10/26/2020
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            Thank you for your consideration of this request.

                                                        Respectfully submitted,

                                                                      /s/

                                                        Thais R. Ridgeway
                                                        Assistant Corporation Counsel


CC:   BY ECF
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